           Case 1:08-cv-00132-AWI-MJS Document 40 Filed 09/01/10 Page 1 of 2


 1   DANIEL J. BRODERICK, #89424
     Federal Defender
 2   DAVID M. PORTER, Bar #127024
     Assistant Federal Defender
 3   Counsel Designated for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Seeking Appointment as
 6   Attorney for Petitioner
     HOLLISTER GEORGE
 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   HOLLISTER GEORGE,               )                  1:08-CV-132 AWI MJS
                                     )
12                  Petitioner,      )                  REQUEST FOR APPOINTMENT OF
                                     )                  COUNSEL; and ORDER
13         v.                        )
                                     )
14                                   )
     W.J. SULLIVAN,                  )
15                                   )
                    Respondent.      )                  Judge: Hon. Anthony W. Ishii
16                                   )
     _______________________________ )
17
18          Pursuant to the Criminal Justice Act, 18 U.S.C. § 3006A, and Rule 8(c), Rules Governing Section
19   2254 Cases, Petitioner, HOLLISTER GEORGE, and the Office of the Federal Defender hereby request
20   that the Office of the Federal Defender be appointed counsel for Mr. George in that:
21          1. On June 16, 2010, this Court entered judgment in the above-entitled action in favor of Mr.
22   George, who was proceeding pro se;
23          2. Respondent filed a notice of appeal;
24          3. On August 12, 2010, the Ninth Circuit Court of Appeals directed the Office of the Federal
25   Defender to locate appointed counsel to represent Mr. George in the appeal, No. 10-16418, and Assistant
26   Federal Defender David M. Porter was subsequently assigned the case;
27          4. It appears that the state has no legitimate interest in keeping Mr. George incarcerated following
28   the July 7, 2010 hearing at which the Board of Parole Hearings set his term at 132 months, a term he has
            Case 1:08-cv-00132-AWI-MJS Document 40 Filed 09/01/10 Page 2 of 2


 1   satisfied in full, and Mr. George requires the assistance of counsel to pursue relief in this Court; and,
 2          5.      Respondent has the benefit of counsel.
 3          Accordingly, on behalf of Mr. George, the Federal Defender's Office requests that the Court enter
 4   the order lodged herewith appointing the office to represent Mr. George in the above-entitled matter.
 5   Dated: August 30, 2010
 6                                                         Respectfully submitted,
 7                                                         DANIEL J. BRODERICK
                                                           Federal Defender
 8
 9                                                          /s/ David M. Porter
                                                           DAVID M. PORTER
10                                                         Assistant Federal Defender
11                                                         Seeking Appointment as
                                                           Attorneys for Petitioner
12                                                         HOLLISTER GEORGE
13
14                                                   ORDER
15          For the reasons set forth in the request, and good cause appearing therefor, the
16   Office of the Federal Defender and Assistant Federal Defender David M. Porter are
17   appointed to represent Petitioner, Hollister George, in the above-entitled matter pursuant
18   to the Criminal Justice Act, 18 U.S.C. § 3006A, and Rule 8(c), Rules Governing Section
19   2254 Cases.
20
21   IT IS SO ORDERED.
22
     Dated:      August 31, 2010
23   0m8i78                                            CHIEF UNITED STATES DISTRICT JUDGE
24
25
26
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